                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION (BIRMINGHAM)

                                               )
 In re:                                        )   Chapter 11
                                               )
 CROSSPLEX VILLAGE QALICB, LLC,                )   Case No. 20-02586-DSC-11
                                               )
          Debtor.                              )
                                               )
                                               )

                    NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

          PLEASE TAKE NOTICE that, pursuant to Rules 2002, 3017, 9007, and 9010 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the undersigned appear as

 counsel for Regions Bank (“Regions”), and request is hereby made that all papers, pleadings,

 motions, and applications served or required to be served in this case and in any related

 proceedings be given to and served upon:

                                      David E. Lemke, Esq.
                                      WALLER LANSDEN DORTCH & DAVIS, LLP
                                      511 Union Street, Suite 2700
                                      Nashville, Tennessee 37219
                                      Telephone: (615) 244-6380
                                      Facsimile: (615) 244-6804
                                      Email: david.lemke@wallerlaw.com


          PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

 notices and papers referred to in the Bankruptcy Rules but also includes without limitation any

 notice, application, complaint, demand, motion, petition, pleading or request, whether formal or

 informal, written or oral, and whether transmitted or conveyed by mail, delivery, telephone,

 telegraph, telex, electronic filing or otherwise filed or made with regard to the above-captioned

 case and any related proceedings therein.




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          This Notice of Appearance and Request for Service of Papers is without prejudice to

 Regions’ rights, remedies, and claims against other entities or any objection that may be had to

 the subject-matter jurisdiction of the court, and shall not be deemed or construed to submit

 Regions to the jurisdiction of the Court. All rights, remedies, and claims are hereby expressly

 reserved, including, without limitation, Regions’ (i) right to have final orders in non-core matters

 entered only after de novo review by a district court, (ii) right to trial by jury in any proceeding

 so triable in this case or in any case, controversy, or proceeding related to this case, (iii) right to

 have the district court withdraw the reference in any matter subject to mandatory or discretionary

 withdrawal, (iv) right to seek a change of venue, or (v) any other rights, claims, actions, setoffs

 or recoupments to which Regions is or may be entitled, in law or in equity, all of which rights,

 claims, actions, defenses, setoffs, and recoupments.




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 Dated: August 26, 2020                 WALLER LANSDEN DORTCH & DAVIS, LLP

                                        /s/ David E. Lemke
                                        David E. Lemke (TN 13586)
                                        511 Union Street, Suite 2700
                                        Nashville, TN 37219
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                                        Attorneys for Regions Bank




                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that the foregoing was filed and served via the Court’s

 CM/ECF filing and noticing system this 26th day of August, 2020, to all parties registered to

 receive electronic notices in this case.

                                               /s/ David E. Lemke
                                               David E. Lemke




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